AO 245C (W D N C R ev. 5/11) Judgm ent in a C rim inal C ase
sheet 1


                                                                  United States District Court
                                                            For The W estern District of North Carolina
UNITED STATES OF AMERICA                                                                                    AM ENDED JUDGM ENT IN A CRIM INAL CASE
                                                                                                    (For Offenses Com m itted On or After Novem ber 1, 1987)
                V.
                                                                                                    Case Num ber: DNCW 306CR000415-002
                                                                                                    USM Num ber: 66235-179
Tam ara Varnado
(Nam e of Defendant)
 Filed Date of Original Judgment: 12/4/2008                                                         Em ily Marroquin and Kevin Tate

 (Or Filed Date of Last Amended Judgment)                                                      Defendant’s Attorney

 Reason for Amendment:

    X   Correction of Sentence on R em and (18 U .S.C . § 3742(f)(1) and (2))                    M odification of Supervision C onditions (18 U .S.C . §§ 3563(c) or
                                                                                               3583(e))

        Reduction of Sentence for C hanged Circum stances (Fed. R . C rim . P. 35(b))             M odification of Im posed Term of Im prisonm ent for Extraordinary and
                                                                                               C om pelling R easons (18 U .S.C. § 3582(c)(1))

        Correction of Sentence by Sentencing Court (Fed. R . C rim . P. 35(a))                   M odification of Im posed Term of Im prisonm ent for R etroactive
                                                                                               Am endm ent(s) to the Sentencing Guidelines (18 U .S.C . § 3582(c)(2))

        Correction of Sentence for C lerical M istake (Fed. R . C rim . P. 36)                     Direct M otion to D istrict C ourt Pursuant

                                                                                                         28 U.S.C . § 2255      Or         18 U.S.C . § 3559(c)(7)

                                                                                                   M odification of R estitution Order 18 U.S.C . § 3664
AC C O R D IN G LY, the court has adjudicated that the defendant is guilty of the following offense(s):
THE D EFEN D AN T:
              Pleaded guilty to count(s) .
              Pleaded nolo contendere to count(s) which was accepted by the court.
X             was found guilty on count(s) 1s-11s, 14s and 17s after a plea of not guilty.

                                                                                                                       D ate O ffense
 Title and Section                         N ature of Offense                                                          C oncluded                                    C ounts

 18:1349                                   C onspiracy to execute a Schem e or A rtifice to defraud U .S. H ealth      2/2004                                        1s
                                           C are Benefit Program s

 18:1347 and 2                             Aid and Abet to Defraud and O btain M oney under C ustody and               11/12/2003                                    2s-10s
                                           C ontrol under H ealth C are Benefit Program s

 18:1956(h)                                C onspiracy to Conduct Financial Transactions involving Proceeds            2/2004                                        11s
                                           of Health Care Fraud

 18:1956(a)(1)(A)(l) and 2                 Aid and Abet to Conduct Financial Transactions involving Proceeds           2/13/2004                                     14s, 17s
                                           of Health Care Fraud


             The D efendant is sentenced as provided in pages 2 through 5 of this judgm ent. The sentence is im posed pursuant to the Sentencing Reform Act of 1984
reference to Booker, and 128 U .S.C . 3553(a).

                The D efendant has been found not guilty on count(s) .
X               C ount(s) 1, 2-8, 12s, 13s, 15s,16s, 18s (is)(are) dism issed on the m otion of the U nited States.

             IT IS ORD ERED that the Defendant shall notify the United States Attorney for this district within 30 days of any change of nam e, residence, or m ailing
address until all fines, restitution, costs, and special assessm ents im posed by this judgm ent are fully paid. If ordered to pay m onetary penalties, the defendant shall
notify the court and U nited States attorney of any m aterial change in the defendant’s econom ic circum stances.

                                                                     D ate of Im position of Resentence : 10/12/11:


                                                                                                              Signed: November 2, 2011




                               Case 3:06-cr-00415-MOC                            Document 304             Filed 11/03/11                Page 1 of 8
AO 245C (W D N C R ev. 5/11) Judgm ent in a C rim inal C ase



Defendant: Tam ara Varnado                                                                                        Judgm ent-Page 2 of 7
Case Num ber: DNCW 306CR000415-002

                                                                  IM PRISONM ENT

       The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a term of
FORTY ONE (41) MONTHS on each of counts 1s-11s, 14s & 17s, to be served concurrently.




X           The Court m akes the following recom m endations to the Bureau of Prisons:

            - The defendant shall support all dependants from prison earnings.

X           The Defendant is rem anded to the custody of the United States Marshal.

            The Defendant shall surrender to the United States Marshal for this District:

                               As notified by the United States Marshal.

                                At___a.m . / p.m . on ___.

            The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                               As notified by the United States Marshal.

                                Before 2 p.m . on ___.

                               As notified by the Probation Office.

                                                                      RETURN

            I have executed this Judgm ent as follows:




        Defendant delivered on __________ to _______________________________________ at
________________________________________, with a certified copy of this Judgm ent.




___________________________________________
           United States Marshal


                                                                                      By:
_______________________________________
                                                                                                     Deputy Marshal




                           Case 3:06-cr-00415-MOC               Document 304       Filed 11/03/11    Page 2 of 8
AO 245C (W D N C R ev. 5/11) Judgm ent in a C rim inal C ase



Defendant: Tam ara Varnado                                                                                                                       Judgm ent-Page 3 of 7
Case Num ber: DNCW 306CR000415-002

                                                                     SUPERVISED RELEASE

          Upon release from im prisonm ent, the defendant shall be on supervised release for a term of THREE (3) YEARS on each of
counts 1s-11s, 14s & 17s, to run concurrently.

            The condition for m andatory drug testing is suspended based on the court’s determ ination that the defendant poses a low
            risk of future substance abuse.

                                                        STANDARD CONDITIONS OF SUPERVISION

            The defendant shall com ply with the standard conditions that have been adopted by this court and any additional conditions ordered.

1.          The defendant shall not com m it another federal, state, or local crim e.
2.          The defendant shall refrain from possessing a firearm , destructive device, or other dangerous weapon.
3.          The defendant shall pay any financial obligation im posed by this judgm ent rem aining unpaid as of the com m encem ent of the sentence of probation or the
            term of supervised release on a schedule to be established by the C ourt.
4.          The defendant shall provide access to any personal or business financial inform ation as requested by the probation officer.
5.          The defendant shall not acquire any new lines of credit unless authorized to do so in advance by the probation officer.
6.          The defendant shall not leave the W estern D istrict of N orth C arolina without the perm ission of the C ourt or probation officer.
7.          The defendant shall report in person to the probation officer as directed by the Court or probation officer and shall subm it a truthful and com plete written
            report within the first five days of each m onth.
8.          A defendant on supervised release shall report in person to the probation officer in the district to which he or she is released within 72 hours of release
            from custody of the Bureau of Prisons.
 9.         The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
10.         The defendant shall support his or her dependents and m eet other fam ily responsibilities.
11.         The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other activities authorized by
            the probation officer.
12.         The defendant shall notify the probation officer within 72 hours of any change in residence or em ploym ent.
13.         The defendant shall refrain from excessive use of alcohol and shall not unlawfully purchase, possess, use, distribute or adm inister any narcotic or other
            controlled substance, or any paraphernalia related to such substances, except as duly prescribed by a licensed physician.
14.         The defendant shall participate in a program of testing and treatm ent or both for substance abuse if directed to do so by the probation officer, until such
            tim e as the defendant is released from the program by the probation officer; provided, however, that defendant shall subm it to a drug test within 15 days of
            release on probation or supervised release and at least two periodic drug tests thereafter for use of any controlled substance, subject to the provisions of
            18:3563(a)(5) or 18:3583(d), respectively.
15.         The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or adm inistered.
16.         The defendant shall not associate with any persons engaged in crim inal activity, and shall not associate with any person convicted of a felony unless
            granted perm ission to do so by the probation officer.
17.         The defendant shall subm it his person, residence, office, vehicle and/or any com puter system including com puter data storage m edia, or any electronic
            device capable of storing, retrieving, and/or accessing data to which they have access or control, to a search, from tim e to tim e, conducted by any U.S.
            Probation Officer and such other law enforcem ent personnel as the probation officer m ay deem advisable, without a warrant. The defendant shall warn
            other residents or occupants that such prem ises or vehicle m ay be subject to searches pursuant to this condition.
18.         The defendant shall perm it a probation officer to visit him or her at any tim e at hom e or elsewhere and shall perm it confiscation of any contraband
            observed by the probation officer.
19.         The defendant shall notify the probation officer within 72 hours of defendant’s being arrested or questioned by a law enforcem ent officer.
20.         The defendant shall not enter into any agreement to act as an inform er or a special agent of a law enforcem ent agency without the perm ission of the
            C ourt.
21.         As directed by the probation officer, the defendant shall notify third parties of risks that m ay be occasioned by the defendant’s crim inal record or personal
            history or characteristics, and shall perm it the probation officer to m ake such notifications and to confirm the defendant’s com pliance with such notification
            requirem ent.
22.         If the instant offense was com m itted on or after 4/24/96, the defendant shall notify the probation officer of any m aterial changes in defendant’s econom ic
            circum stances which m ay affect the defendant’s ability to pay any m onetary penalty.
23.         If hom e confinem ent (hom e detention, hom e incarceration or curfew) is included you m ay be required to pay all or part of the cost of the electronic
            m onitoring or other location verification system program based upon your ability to pay as determ ined by the probation officer.
24.         The defendant shall cooperate in the collection of D N A as directed by the probation officer.
25.         The defendant shall participate in transitional support services under the guidance and supervision of the U .S. Probation Officer. The defendant shall
            rem ain in the services until satisfactorily discharged by the service provider and/or with the approval of the U .S. Probation Officer.


ADDITIONAL CONDITIONS:

26.         The defendant shall file tax returns with the internal R evenue Service as required by law and provide the US P robation Office with proof of sam e.




                           Case 3:06-cr-00415-MOC                       Document 304                Filed 11/03/11              Page 3 of 8
AO 245C (W D N C R ev. 5/11) Judgm ent in a C rim inal C ase


Defendant: Tam ara Varnado                                                                                                     Judgm ent-Page 4 of 7
Case Num ber: DNCW 306CR000415-002

                                                               CRIM INAL M ONETARY PENALTIES

The defendant shall pay the following total crim inal m onetary penalties in accordance with the Schedule of Paym ents.


                   ASSESSM ENT                                                 FINE                                      RESTITUTION

                       $1,300.00                                               $0.00                                      $1,208,256.53
                                                                                                      ***T otal outstanding balance of R estitution due and rem ains
                                                                                                                                in effect***




                                                                             FINE


          The defendant shall pay interest on any fine or restitution of m ore than $2,500.00, unless the fine or restitution is paid in full
before the fifteenth day after the date of judgm ent, pursuant to 18 U.S.C. § 3612(f). All of the paym ent options on the Schedule of
Paym ents m ay be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

X                 The court has determ ined that the defendant does not have the ability to pay interest and it is ordered that:

X                 The interest requirem ent is waived.

                  The interest requirem ent is m odified as follows:


                                                               COURT APPOINTED COUNSEL FEES

                  The defendant shall pay court appointed counsel fees.

                  The defendant shall pay $                       Towards court appointed fees




                           Case 3:06-cr-00415-MOC                    Document 304        Filed 11/03/11    Page 4 of 8
Case 3:06-cr-00415-MOC   Document 304   Filed 11/03/11   Page 5 of 8
AO 245C (W D N C R ev. 5/11) Judgm ent in a C rim inal C ase


Defendant: Tam ara Varnado                                                                                                     Judgm ent-Page 5 of 7
Case Num ber: DNCW 306CR000415-002

                                                               RESTITUTION PAYEES

The defendant shall m ake restitution to the following payees in the am ounts listed below:


 NAME OF PAYEE                                                           AMOUNT OF RESTITUTION ORDERED
 Blue Cross Blue Shield of Texas                                         $4,232.52

 Aetna                                                                   $571.53

 Blue Cross and Blue Shield of Alabam a                                  $10,470.18

 Departm ent of Health and Hum an Services                               $1,192,982.30

X           Joint and Several

                               Defendant and Co-Defendant Nam es and Case Num bers (including defendant number) if appropriate:

                               Court gives notice that this case m ay involve other defendants who m ay be held jointly and severally liable for
                               paym ent of all or part of the restitution ordered here in and m ay order such paym ent in the future.

                               The victim s’ recovery is lim ited to the am ount of their loss and the defendant’s liability for restitution ceases if
                               and when the victim (s) receive full restitution.

                   X           Any paym ent not in full shall be divided proportionately am ong victim s.




                           Case 3:06-cr-00415-MOC                 Document 304           Filed 11/03/11         Page 6 of 8
AO 245C (W D N C R ev. 5/11) Judgm ent in a C rim inal C ase


Defendant: Tam ara Varnado                                                                                                  Judgm ent-Page 6 of 7
Case Num ber: DNCW 306CR000415-002


                                                                   SCHEDULE OF PAYM ENTS


Having assessed the defendant’s ability to pay, paym ent of the total crim inal m onetary penalties shall be due as follows:

            A                  Lum p sum paym ent of $                  Due im m ediately, balance due

                               Not later than               , or
                               In accordance             (C),        (D) below; or

            B      X           Paym ent to begin im m ediately (m ay be com bined with          (C),     X (D) below); or

            C                  Paym ent in equal            (E.g. weekly, m onthly, quarterly) installm ents of $           To com m ence
                                (E.g. 30 or 60 days) after the date of this judgm ent; or

            D      X           Paym ent in equal Monthly (E.g. weekly, m onthly, quarterly) installm ents of $ 200.00 To com m ence
                               60 (E.g. 30 or 60 days) after release from im prisonm ent to a term of supervision. In the event the entire
                               am ount of crim inal m onetary penalties im posed is not paid prior to the com m encem ent of supervision, the
                               U.S. Probation Officer shall pursue collection of the am ount due, and m ay request the court to establish or
                               m odify a paym ent schedule if appropriate 18 U.S.C. § 3572.


Special instructions regarding the paym ent of crim inal m onetary penalties:

            The defendant shall pay the cost of prosecution.
            The defendant shall pay the following court costs:
            The defendant shall forfeit the defendant’s interest in the following property to the United States:

            Consent forfeiture m ade part of this judgm ent by reference for enforcem ent under the term s of the judgm ent filed on January
31,            2008


Unless the court has expressly ordered otherwise in the special instructions above, if this judgm ent im poses a period of im prisonm ent
paym ent of crim inal m onetary penalties shall be due during the period of im prisonm ent. All crim inal m onetary penalty paym ents are to
be m ade to the United States District Court Clerk, 401 W est Trade Street, Room 210, Charlotte, NC 28202, except those paym ents
m ade through the Bureau of Prisons’ Inm ate Financial Responsibility Program . All crim inal m onetary penalty paym ents are to be
m ade as directed by the court.




Paym ents shall be applied in the following order: (1) assessm ent, (2) restitution principal, (3) restitution interest, (4) fine principal, (5)
fine interest, (6) com m unity restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.




                           Case 3:06-cr-00415-MOC                    Document 304         Filed 11/03/11        Page 7 of 8
AO 245C (W D N C R ev. 5/11) Judgm ent in a C rim inal C ase



Defendant: Tam ara Varnado                                                                                         Judgm ent-Page 7 of 7
Case Num ber: DNCW 306CR000415-002

                                                               STATEMENT OF ACKNOW LEDGMENT

I understand that m y term of supervision is for a period of _______m onths, com m encing on ____________________ .

Upon a finding of a violation of probation or supervised release, I understand that the court m ay (1) revoke supervision, (2) extend the
term of supervision, and/or (3) m odify the conditions of supervision.

I understand that revocation of probation and supervised release is m andatory for possession of a controlled substance, possession of
a firearm and/or refusal to com ply with drug testing.

These conditions have been read to m e. I fully understand the conditions and have been provided a copy of them .




(Signed)       ____________________________________ Date: _________________
                Defendant

(Signed)       ____________________________________ Date: _________________
                U.S. Probation Office/Designated W itness




                           Case 3:06-cr-00415-MOC                    Document 304   Filed 11/03/11   Page 8 of 8
